Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 1 of 13
                                                             FILED
                                                         March 22, 2024
                                                      CLERK, U.S. DISTRICT COURT
                                                      WESTERN DISTRICT OF TEXAS

                                                             Jennifer Clark
                                                   BY: ________________________________
                                                                           DEPUTY
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 2 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 3 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 4 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 5 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 6 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 7 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 8 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 9 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 10 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 11 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 12 of 13
Case 6:20-cv-00966-ADA Document 332 Filed 03/22/24 Page 13 of 13
